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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                       EUGENE DIVISION


UNITED STATES OF AMERICA                               6:20-cr- l.Q Q. - A A

               v.                                      INFORMATION

STANLEY CARL GREEN,                                    18 U.S.C. § 875(c)

               Defendant.                              Forfeiture Allegation



                      THE UNITED STATES ATTORNEY CHARGES:

                                        COUNTl
                (Transmitting a communication containing a threat to injure)
                                   (18 U.S.C. § 875(c))

       On or about November 28, 2017, in the District of Oregon, defendant STANLEY CARL

GREEN knowingly transmitted in interstate commerce a communication containing a threat to

injure the person of another.

       In violation of Title 18, United States Code, Section 875(c).

                                 FORFEITURE ALLEGATION

       Upon conviction of the offense in Count 1of this Information, defendant STANLEY

CARL GREEN, shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the aforesaid


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violation and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of said violation.

       Dated: February 20, 2020

                                                     Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney




                                                     Assistant United States Attorney




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